                   IN THE UNITED STATES DISTRICT COURT
                FOR THE MIDDLE DISTRICT OF NORTH CAROLINA

    WILLIAM LEROY BARNES,              )
                                       )
                     Petitioner,       )
                                       )
              v.                       )         1:08cv271
                                       )
    EDWARD THOMAS, 1 Warden,           )
    Central Prison, Raleigh,           )
    North Carolina                     )
                                       )
                     Respondent.       )

                        MEMORANDUM OPINION AND ORDER

THOMAS D. SCHROEDER, Chief District Judge.

        Petitioner William Leroy Barnes (“Barnes” or “Petitioner”)

brings this habeas proceeding under 28 U.S.C. § 2254, challenging

his underlying conviction and death sentence resulting from his

role in the 1992 murders of B.P. and Ruby Tutterow.                This case

returns to the court on remand from the Court of Appeals for the

Fourth Circuit with instructions to conduct an evidentiary hearing

with respect to Barnes’s allegations of juror misconduct during

the sentencing phase of his trial.         Barnes’s petition was referred

to the United States Magistrate Judge, who held an evidentiary

hearing and entered a Recommendation to deny the petition.              (Doc.

54.)     Notice was served on the parties, and Barnes filed timely

objections.        (Doc. 58.)   Barnes also moves for the appointment of



1  Edward Thomas is now the present Warden of North Carolina’s Central
Prison and has been substituted as Respondent.    See Fed. R. Civ. P.
25(d).




       Case 1:08-cv-00271-TDS-JEP Document 62 Filed 08/02/18 Page 1 of 32
substitute counsel.         (Docs. 59, 60.)

       After a thorough review and for the reasons set forth below,

the court now adopts the Recommendation, as modified herein, denies

Barnes’s petition, and denies his motion to appoint substitute

counsel.

I.     BACKGROUND

       In 1994, Barnes was convicted of first-degree murder and

sentenced to death following a trial in the Superior Court of Rowan

County, North Carolina.          Barnes sought to challenge his sentence

and underlying conviction on multiple grounds, including raising

a    claim   of   juror     misconduct    arising     from    a   juror’s   alleged

communication with her pastor during the sentencing phase of the

proceedings. The Supreme Court of North Carolina affirmed Barnes’s

conviction and sentence on direct appeal.                    State v. Barnes, 345

N.C. 184, 481 S.E.2d 44 (1997), cert. denied, 523 U.S. 1024 (1998).

       In February 1999, Barnes sought state post-conviction relief

on several grounds by filing a motion for appropriate relief

(“MAR”) in Rowan County Superior Court.                  In his MAR petition,

Barnes reasserted his claim of juror misconduct and presented

additional evidence to support his claim that a sitting juror,

Hollie Jordan (“Juror Jordan”), improperly communicated with her

pastor during sentencing proceedings and then relayed information

to the other jurors.         On May 31, 2007, the state MAR court denied

this    claim     without    conducting       a   hearing,    adopting   the   same

                                          2



       Case 1:08-cv-00271-TDS-JEP Document 62 Filed 08/02/18 Page 2 of 32
reasoning as the Supreme Court of North Carolina.                 The Supreme

Court of North Carolina subsequently denied review.               See State v.

Barnes, 362 N.C. 239, 660 S.E.2d 53 (2008).

      Barnes filed his present petition on April 17, 2008.               (Doc.

1.)   On March 28, 2013, this court denied his petition but granted

a certificate of appealability with respect to the single issue

involving alleged juror misconduct.            (Doc. 28 at 56.)      On appeal,

a divided panel of the Fourth Circuit held that the MAR court

unreasonably     applied     clearly       established     federal    law,   as

determined by the Supreme Court of the United States, by denying

Barnes’s juror misconduct claim without applying a presumption of

prejudice and holding an evidentiary hearing pursuant to Remmer v.

United States, 347 U.S. 227 (1954).            Barnes v. Joyner, 751 F.3d

229, 252 (4th Cir. 2014).        The Fourth Circuit remanded the case

“for an evidentiary hearing to determine whether the state court's

failure    to   apply   the Remmer presumption       and    its    failure   to

investigate Barnes’ allegations of juror misconduct in a hearing

had a substantial and injurious effect or influence on the jury's

verdict.”    Id. at 253.

      The magistrate judge held an evidentiary hearing during which

Barnes presented four witnesses: Juror Jordan, Janine Fodor, 2


2
  Janine Fodor represented Barnes in his direct appeal while she worked
in the North Carolina State Appellate Defender’s Office. (Doc. 47 at
23-24.)   The magistrate judge accepted Fodor’s testimony subject to
several objections by Respondent. (Doc. 54 at 10 n.1, 10-11 n.2.) The


                                       3



      Case 1:08-cv-00271-TDS-JEP Document 62 Filed 08/02/18 Page 3 of 32
Ardith Peacock (“Juror Peacock”), and Leah Weddington (“Juror

Weddington”).       (Doc.    47.)   Respondent       did     not    present   any

witnesses.    After thoroughly reviewing the evidence and relevant

testimony    from   the   evidentiary    hearing,    the     magistrate   judge

issued a Recommendation denying Barnes’s claim. (Doc. 54.) Barnes

now objects to several aspects of the Recommendation.                (Doc. 58.)3

After the magistrate judge issued her Recommendation, Barnes filed

a pro se motion requesting that the court appoint substitute

counsel.    (Docs. 59, 60.)

     The court will first address Barnes’s objections to the

Recommendation      before   considering    his     motion    for    substitute



magistrate judge permitted Fodor’s testimony regarding her review of the
legal issues of the case but considered that proffer as an argument of
counsel rather than opinion testimony. (Id. at 10 n.1.) During the
evidentiary hearing, the magistrate judge sustained the Respondent’s
hearsay objection to Fodor’s testimony regarding what Juror Jordan told
Fodor about her consultation with Pastor Lomax during an interview, but
permitted Barnes to make an offer of proof as to the challenged
testimony.    (Id. at 10-11 n.2.)     The magistrate judge ultimately
concluded that “[e]ven if the Court considers this testimony, the Court
finds that the testimony of Juror Jordan herself is more direct and more
credible than the general characterizations by Attorney Fodor of her
recollection from the summary of her notes of her interviews with Juror
Jordan.” (Id.) Barnes has not raised any objection to this credibility
determination or these evidentiary rulings, and the court does not find
that the magistrate judge erred in making these findings.
3
  During the evidentiary hearing, the parties raised several objections
to certain testimony regarding the jurors’ mental thought processes under
Federal Rule of Evidence 606(b). Consistent with her evidentiary rulings
during the hearing, the magistrate judge held that certain portions of
testimony should not be considered. (Doc. 54 at 10-11 n.2, 13 n.3, 14
n.4.)    Barnes does not challenge these evidentiary rulings, nor does
the court find that the magistrate judge erred in excluding such
testimony. See United States v. Lawson, 677 F.3d 629, 646-47 (4th Cir.
2012).


                                     4



    Case 1:08-cv-00271-TDS-JEP Document 62 Filed 08/02/18 Page 4 of 32
counsel.     Because the facts underlying Barnes’s conviction, post-

conviction proceedings, and evidentiary hearing are set forth in

the Recommendation, they will be repeated here only insofar as

necessary to address the objections raised.

II.   ANALYSIS

      A.     Objections to Recommendation

      Barnes raises several objections to the Recommendation.                           He

first      objects       to     the         magistrate         judge’s       “incomplete

characterization” of the circumstances that gave rise to Juror

Jordan’s     communications          with      her   pastor,    Tom    Lomax    (“Pastor

Lomax”), 4 as well as the characterization of Jordan’s communication

with him and with the other jurors.                    (Doc. 58 at 2, 7.)            Barnes

also objects to the magistrate judge’s finding that the state

court’s error in failing to apply the Remmer presumption was

harmless,     arguing         that       the       magistrate    judge       failed     to

appropriately     consider       the      evidence      regarding      Juror    Jordan’s

communication with her pastor as well as the evidence in his case.

(Doc. 58 at 14, 18.)

      When     considering           a      magistrate       judge’s     report        and

recommendation,      a    district          court     must     conduct   a     “de    novo

determination of those portions of the report or specified proposed

findings or recommendations to which objection is made.” 28 U.S.C.


4
  Pastor Lomax is deceased, and thus no testimony was provided from him.
(Doc. 47 at 48.)

                                               5



      Case 1:08-cv-00271-TDS-JEP Document 62 Filed 08/02/18 Page 5 of 32
§ 636(b)(1); Fed. R. Civ. P. 72(b)(3).            In doing so, the district

court “may accept, reject, or modify, in whole or in part, the

findings or recommendations made by the magistrate judge.”                  28

U.S.C. § 636(b)(1).      The Fourth Circuit has recognized that “a ‘de

novo determination’ is not necessarily the same as a de novo

hearing and that the decision to rehear testimony is within the

sole discretion of the district judge, even as to those findings

based on the magistrate's judgment as to the credibility of the

witnesses before [her].”       Proctor v. State Gov't of N. Carolina,

830 F.2d 514, 518 n.2 (4th Cir. 1987) (citing United States v.

Raddatz, 447 U.S. 667 (1980)).       The district court must review the

entire record, including the transcript, to determine whether the

magistrate    judge’s    findings   are   adequately      supported   by   the

record.     See Johnson v. Knable, 1991 WL 87147, at *1 (4th Cir.

1991) (per curiam); United States v. Mallicone, No. 5:17-CR-9,

2017 WL 3575894, at *2 (N.D.W. Va. Aug. 18, 2017) (“[T]he first

step is for the district judge to review the record, including the

transcript, and to determine whether the entire record supports

the   magistrate    judge's   findings.      If    the   magistrate   judge's

findings are supported by the record, the finding can be adopted

by the district judge.” (quoting United States v. Jones, 2011 WL

2160339, *5 (C.D. Ill. June 1, 2011)).              Where a party fails to

object to a recommendation, however, the court’s review is for

clear error.      Diamond v. Colonial Life & Accident Ins. Co., 416

                                      6



      Case 1:08-cv-00271-TDS-JEP Document 62 Filed 08/02/18 Page 6 of 32
F.3d 310, 315 (4th Cir. 2005).

     As to the governing law, the Fourth Circuit stated, “[i]t is

clearly established under Supreme Court precedent that an external

influence affecting a jury's deliberations violates a criminal

defendant's right to an impartial jury.”                    Barnes, 751 F.3d at 240

(collecting   cases).           The    Supreme       Court     in   Remmer     “clearly

established   not   only    a    presumption         of     prejudice,   but    also   a

defendant’s   entitlement        to     an       evidentiary    hearing,     when   the

defendant presents a credible allegation of communications or

contact between a third party and a juror concerning the matter

pending before the jury.”             Id. at 242.         In this case, the Fourth

Circuit ultimately concluded that the state MAR court unreasonably

applied clearly established federal law, as determined by the

Supreme Court, by denying Barnes’s juror misconduct claim without

applying a rebuttable presumption of prejudice and ordering an

evidentiary hearing.       Id. at 251-52.

     Nevertheless, “principles of comity and respect for state

court   judgments   preclude          federal      courts    from   granting     habeas

relief to state prisoners for constitutional errors committed in

state court absent a showing that the error ‘had a substantial and

injurious effect or influence in determining the jury's verdict.’”

Richmond v. Polk, 375 F.3d 309, 335 (4th Cir. 2004) (quoting Brecht

v. Abrahamson, 507 U.S. 619, 623 (1993)).                    As the Fourth Circuit

explained, “[t]he Remmer presumption is meant to protect against

                                             7



    Case 1:08-cv-00271-TDS-JEP Document 62 Filed 08/02/18 Page 7 of 32
the potential Sixth Amendment harms of extraneous information

reaching the jury, but a state court's failure to apply the

presumption only results in actual prejudice if the jury's verdict

was tainted by such information.” Barnes, 751 F.3d at 252 (quoting

Hall v. Zenk, 692 F.3d 793, 805 (7th Cir. 2012)).             Within the

context of a federal habeas proceeding, however, “Barnes will not

be entitled to the Remmer presumption” and must “affirmatively

prove actual prejudice by demonstrating that the jury's verdict

was tainted by the extraneous communication between Juror Jordan

and Pastor Lomax.”    Id. at 252-53.

     A habeas petitioner is entitled to relief if the court is in

“grave doubt” as to the harmlessness of the error.              O'Neal v.

McAninch, 513 U.S. 432, 436 (1995).        “‘Grave doubt’ exists when,

in light of the entire record, the matter is so evenly balanced

that the court feels itself in ‘virtual equipose’ [sic] regarding

the error's harmlessness.”        Barnes, 751 F.3d at 252 (quoting

Fullwood v. Lee, 290 F.3d 663, 679 (4th Cir. 2002)).             In North

Carolina, a court may not impose the death penalty unless the

jurors unanimously agree to such a sentence.            N.C. Gen. Stat.

§ 15A-2000(b).   Thus, the court must determine whether it can say

“with fair assurance” that the judgment was “not substantially

swayed by the error.”     Kotteakos v. United States, 328 U.S. 750,

765 (1946); Allen v. Lee, 366 F.3d 319, 345 (4th Cir. 2004)

(Gregory, J., concurring) (noting the court must “assess whether

                                    8



    Case 1:08-cv-00271-TDS-JEP Document 62 Filed 08/02/18 Page 8 of 32
[it] can say ‘with fair assurance,’ that not a single resolute

juror would have voted for a life sentence.” (quoting Kotteakos,

328 U.S. at 765)).

     In determining whether extraneous information that reached

the jury was likely to have prejudiced a defendant, the court may

consider several factors, including the nature of the extraneous

information, the manner in which it reached the jury, and the

strength of the State’s evidence.        Hall, 692 F.3d at 806–07 (“But

in deciding whether extraneous information that reached the jury

was likely to have prejudiced a defendant, there is more to

consider than just the nature of the extraneous information; a

court may also consider, among other things, the power of any

curative instructions, and the strength of the legitimate evidence

presented    by   the   State.”   (internal   brackets     and   citations

omitted)); McNeill v. Polk, 476 F.3d 206, 226 (4th Cir. 2007)

(King, J., concurring) (considering similar factors in determining

whether   petitioner    was   actually   prejudiced   by   jury’s   use   of

dictionary definition (citing Mayhue v. St. Francis Hosp. of

Wichita, Inc., 969 F.2d 919, 924 (10th Cir. 1992)); McNair v.

Campbell, 416 F.3d 1291, 1307-08 (11th Cir. 2005) (noting relevant

factors include “the nature of the extrinsic evidence, how the

evidence reached the jury, and the strength of the State's case”).

            1.    Communication between Juror Jordan and Pastor Lomax

     Barnes raises several objections to the magistrate judge’s

                                    9



    Case 1:08-cv-00271-TDS-JEP Document 62 Filed 08/02/18 Page 9 of 32
characterization of Juror Jordan’s communication with her pastor

and subsequent communication to the other jurors.                     Barnes first

claims     that      the    magistrate     judge    failed      to   consider      the

circumstances that gave rise to Juror Jordan’s communications.

Barnes contends that the argument about the Bible and the jurors’

own salvation made by co-defendant Frank Junior Chambers’s defense

attorney during his closing argument was precipitated by the

closing argument of the prosecutor 5 and thus placed competing

arguments before the jury about how the Bible should inform the

juror’s decision on whether to impose the death penalty.                   (Doc. 58

at   6.)      Barnes       argues   that   the   jury   was   composed     of    “very

religious” people 6 and at least one juror was “visibly upset” by

the closing argument by Chambers’s counsel.               (Doc. 58 at 6 (citing

Doc. 12-3 at 12).) 7           He further notes that Juror Jordan, whom


5
  Portions of the trial transcript which Barnes cites as the closing
argument of the prosecutor are actually the closing argument of counsel
for Barnes’s co-defendant, Chambers. (See Doc. 58 at 3 (citing Trial
Tr. Vol. VII at 393-95 (arguing that the State was “asking you to go
back and commit premeditation, deliberation, and with malice in your
heart order the killing of those three men,” and stating that “[y]ou do
not violate the laws of North Carolina when you return a death verdict”
and “I’ll not comment on the laws of God at this time”), 401-02
(contending that the State has put the jurors, as “true believers,” in
“the predicament” of having “[t]o explain [on judgment day] when your
soul is at stake” that “yes, I did violate one of your commandments”).)
6
  Barnes relies on the fact that eleven jurors acknowledged a church
affiliation during voir dire. (Doc. 58 at 2.)
7
     During    his     closing      argument,      Chambers’s    counsel        stated:

      If you're a true believer and you believe that Frank Chambers
      will have a second judgment day, then we know that all of us


                                           10



     Case 1:08-cv-00271-TDS-JEP Document 62 Filed 08/02/18 Page 10 of 32
Barnes characterizes as a “true believer,” testified that her

church “[p]layed a big role in her life” and she considered Pastor

Lomax to be her spiritual guide and leader.        (Id. at 5 n.4 (citing

Doc. 54 at 11.)    Relying on the Fourth Circuit’s decision in this

case, Barnes contends that “[a]gainst this backdrop, Jordan’s

improper communications with her pastor were both about the subject

matter before the jury and tainted the jury verdict.”           (Id. at 6

(emphasis added).)

     However, Barnes conflates the Fourth Circuit’s finding that


     will too. All of us will stand in judgment one day. And
     what words is it that a true believer wants to hear? [“]Well
     done, my good and faithful servant. You have done good things
     with your life. You have done good deeds.     Enter into the
     Kingdom of Heaven. [”] Isn't that what a true believer wants
     to hear? Or does a true believer want to explain to God,
     [“]yes, I did violate one of your commandments. Yes, I know
     they are not the ten suggestions. They are the ten
     commandments. I know it says, Thou shalt not kill, but I did
     it because the laws of man said I could.[”] You can never
     justify violating a law of God by saying the laws of man
     allowed it. If there is a higher God and a higher law, I
     would say not.

     To be placed in the predicament that the State has asked you
     to place yourself in, is just that.     To explain when your
     soul is at stake. [“]Yes, I know the three that I killed were
     three creatures of yours, God. And that you made them in your
     likeness. I know you love us all, but I killed them because
     the State of North Carolina said I could.[”] Who wants to be
     placed in that position? I hope none of us. And may God
     have mercy on us all.

Barnes, 751 F.3d at 233. As the Fourth Circuit noted, “[t]he prosecution
did not object at any point during this argument.”       Id.   Apart from
objecting to the prosecutor’s statement that “you have nothing to feel
guilty about for imposing the sentence that is required by the law,”
neither Barnes nor his co-defendants otherwise objected to the references
to religion in the prosecutor’s closing argument that Barnes contends
precipitated this argument by Chambers’s counsel. (See Trial Tr. Vol.
VII at 359-61.)

                                    11



    Case 1:08-cv-00271-TDS-JEP Document 62 Filed 08/02/18 Page 11 of 32
the state court’s adjudication of his juror misconduct claim was

“an unreasonable application of clearly established federal law”

with the independent inquiry into whether the error “actually

prejudiced” him.        Barnes, 751 F.3d at 252 (quoting Bauberger v.

Haynes, 632 F.3d 100, 104 (4th Cir. 2011)).                As the magistrate

judge noted, the Fourth Circuit’s decision focused on the first

prong of this inquiry and expressly stated that based on the record

presented it was “unclear whether Barnes can demonstrate actual

prejudice or whether the MAR Court's unreasonable application of

federal law was harmless.”          Id. at 252.     To the extent that the

magistrate judge may have failed to consider the nature of the

closing argument made by the prosecutor, the court finds that it

would not alter the outcome in this case.

      Barnes also objects to the magistrate judge’s finding that

“[t]here    is    no   evidence   that    Pastor   Lomax   knew    any   details

regarding the facts of the case or gave any advice or statement to

what jurors should do or the verdict they should return.”                 (Doc.

54 at 19.)    Barnes notes that Juror Jordan testified that she told

him she was on a jury and mentioned the “horrific” crime scene

pictures that were introduced during the closing argument.                 (Doc.

47   at    50-51.)       However,    the      magistrate   judge    explicitly

acknowledged this testimony in making her factual finding.                 (Doc.

54 at 19.)       Moreover, Juror Jordan testified that she “just told

him that the pictures were horrific” and “didn’t specify which

                                         12



     Case 1:08-cv-00271-TDS-JEP Document 62 Filed 08/02/18 Page 12 of 32
pictures.”     (Doc. 47 at 50-51.)         To the extent that Pastor Lomax

was made aware of some facts regarding the case, it is true that

there is no evidence that he “gave any advice or statement to what

jurors should do or the verdict they should return” (Doc. 54 at

19); rather, he told Juror Jordan that the jurors would not burn

in hell and “we had to live by the laws of the land.”              (Doc. 47 at

51.)

       Barnes next objects to the Recommendation’s finding that

“there is no evidence that [Pastor Lomax] attempted to persuade

Juror Jordan to vote for or against the death penalty, or that he

suggested the Bible supported a particular sentence.”                   (Id. at

19.)     Barnes challenges the magistrate judge’s characterization

that the juror spoke with her pastor for “a few minutes” about the

trial, noting that Jordan testified that she met with the pastor

for    “roughly   an   hour   or   two”   and   spent   “15   to   30   minutes”

discussing the Bible verses with the jurors.              (Doc. 58 at 7-8.)

He charges that it “defies common sense” to assume that most of

the “roughly two hour conversation” centered on “family” and “other

things,” as Juror Jordan testified.              (Id. at 8.)       Barnes also

points out that Juror Peacock testified that one of the Bible

passages Jordan read was “an eye for an eye and a tooth for a

tooth.”     (Id. at 9.)       Barnes contends that “[i]nasmuch as the

closing argument of Chambers’ attorney was undeniably against the

imposition of the death penalty, the Bible verses that rebutted

                                      13



      Case 1:08-cv-00271-TDS-JEP Document 62 Filed 08/02/18 Page 13 of 32
this    closing    argument    are    ipso    facto    in    favor    of    the   death

penalty.”     (Id. at 13.)

        As to timing, it is Barnes who seeks to reject the only record

evidence and thus speculate that Juror Jordan’s conversation with

her pastor lasted “roughly two hours” and concerned mostly a

discussion    about   the     case.      Juror    Jordan      testified      that   her

conversation regarding the case lasted “[j]ust the few minutes

that [she] asked him would we burn in hell and he said no, we had

to live by the laws of the land.”             (Doc. 47 at 51.)        She testified

that “[h]e told me some scriptures in the Bible, you know, that

explained everything.”          (Id.) Otherwise, the remainder of the

conversation was about “family” and “other things.”                        (Id. at 51-

52.)      In the absence of further cross-examination (which was

available)    or    other    testimony       (which    was    not    elicited),     the

magistrate judge’s finding is well-supported by the record.

        Here, the evidence indicates that Juror Jordan offered the

Bible verses to rebut the closing argument by Chambers’s attorney.

(Doc. 12-3 at 12; Doc. 47 at 54-55.)              Juror Weddington testified

during the evidentiary hearing that she recalled a female juror

reading    Bible    verses    out     loud    during    the    jury’s       sentencing

deliberations but could not recall the juror’s name or the verses

read.     (Doc. 47 at 74-75.)        The following exchange then occurred:

            Q.   Do you have any knowledge about what might
       have prompted the juror – the female juror to bring the
       Bible into the jury room?

                                         14



   Case 1:08-cv-00271-TDS-JEP Document 62 Filed 08/02/18 Page 14 of 32
            A.   I guess she was trying to convince someone to
       – it was okay to give him the death penalty.

(Doc. 47 at 75.) 8   Juror Peacock testified that she believed Juror

Jordan offered the verses to rebut the closing argument offered by

Chambers’s attorney, but she could not say whether Juror Jordan

offered the verses to promote a particular sentence, apart from

providing the general message that the jurors should apply the

law.    (Doc. 47 at 70-72.)       Notably, neither Jurors Peacock nor

Weddington could confirm what passages were read or whether they

were from the Old or New Testament.          See Robinson v. Polk, 438

F.3d 350, 359 n.8 (4th Cir. 2006) (noting stark differences between

“eye for an eye” passages in the Old and New Testament, but

assuming for the sake of argument that the juror read from the Old

Testament).

       The   magistrate   judge    characterized    Juror     Weddington’s

testimony as to Juror Jordan’s purported motive for reading the

Bible passages as speculation.       (Doc. 54 at 15.)       Barnes objects



8
  During the evidentiary hearing, the Respondent maintained a standing
objection under Federal Rule of Evidence 606(b) and specifically objected
to this testimony. (Doc. 47 at 75.) The magistrate judge acknowledged
the objection and invited both parties to address the issue in the post-
hearing briefing. (Doc. 54 at 13 n.3.) After noting the Respondent’s
failure to address the issue with any additional specificity in the post-
hearing briefing, the magistrate judge overruled the Respondent’s
objections, concluding that the testimony fell within the exceptions in
Rule 606(b)(2)(A) and (B). (Doc. 54 at 13 n.3.) The Respondent has not
challenged this evidentiary ruling. Whether or not this statement falls
within an exception under Rule 606(b)(2)(A) or (B), it is nevertheless
sheer speculation.

                                    15



    Case 1:08-cv-00271-TDS-JEP Document 62 Filed 08/02/18 Page 15 of 32
to this characterization and contends that Juror Weddington’s

“prefatory remark that ‘I guess’ was merely superfluous, as her

testimony was based on what she actually observed Jordan doing in

relation to another juror.”       (Doc. 58 at 14.)        Barnes notes that

Weddington’s statement conforms with a summary of Weddington’s

testimony provided in a sworn affidavit from Daniel Williams, an

investigator retained by Barnes’s counsel, (Doc. 12-3 at 6-7), as

well as Juror Jordan’s previous signed statement in which she

stated that she “noticed that another juror, a female, seemed

visibly upset by the [defense closing] argument, and that she

(Jordan)   brought   in   the   Bible    to   remedy    the   effect   of   the

argument.”   (Doc. 58 at 13 n.8 (citing Doc. 12-3 at 12).)

     Regardless of whether Juror Weddington prefaced her statement

with “I guess,” her opinion regarding another person’s motive can

only be considered speculation, particularly where she could not

recall the name of the juror who read the Bible verses or which

verses were read.    (Doc. 47 at 74-75.)       Furthermore, the statement

itself does not directly contradict Juror Jordan’s own testimony

that she did not communicate these Bible verses to convince jurors

to impose a particular sentence, but rather to advise them that as

jurors they should apply the law of the land and would not “burn

in hell” if they imposed the death penalty.            (Doc. 47 at 52 (“Just

the closing argument as far as, like I said, if they got the death

sentence for what they did and we sentenced them to death, were we

                                    16



   Case 1:08-cv-00271-TDS-JEP Document 62 Filed 08/02/18 Page 16 of 32
going to die because we're killing them.”) and (“I just wanted to

know if I was going to burn in hell for it.”); at 55-56 (“The only

thing was as far as burning in hell.                     That’s the only reason I

went and talked to him.”)

               2.        Actual Prejudice and Harmless Error

       Barnes next challenges the Recommendation’s conclusion that

the state court’s error in failing to apply the Remmer presumption

is harmless because Barnes suffered no actual prejudice as a result

of the communication between Pastor Lomax and Juror Jordan.                         (Doc.

58 at 14.)          Barnes claims that the magistrate judge relied on an

“incorrect and overly narrow assessment of the evidence” regarding

Juror   Jordan’s          communication     with   her    pastor    in   making      this

finding.       (Id.)       In addition, Barnes objects to what he terms as

the Recommendation’s “incomplete” consideration of the evidence in

his case.      (Id. at 18.)        He contends that the evidence against him

was “largely circumstantial and hardly overwhelming.”                        (Id.)     He

further argues that when weighing the strength of the prosecution’s

case    against          the   mitigating   factors,      the   magistrate     judge’s

assessment of the evidence is “fundamentally flawed.”                         (Id. at

25.)

       There        is    little   indication      that    Pastor    Lomax     in    his

interaction with Juror Jordan or Juror Jordan in her interaction

with the jury employed the Bible verses to support the imposition

of a particular sentence as opposed to authorizing the jurors to

                                            17



   Case 1:08-cv-00271-TDS-JEP Document 62 Filed 08/02/18 Page 17 of 32
apply the law. No witness testified that Juror Jordan ever claimed

to offer the Bible passages to encourage any juror to impose the

death penalty.    Barnes did present evidence during the state MAR

proceeding that Juror Jordan brought her Bible to the jury room

because a juror was “visibly upset” by the closing argument of

Chambers’s attorney that jurors would “one day face God’s judgment

for killing these defendants.”      (Doc. 12-3 at 12; see id. at 7.)

And Juror Peacock testified that one of the Bible passages Jordan

read was an “eye for an eye and a tooth for a tooth.”        (Doc. 47 at

61.)    However, Juror Peacock testified that Juror Jordan did not

state whether the Bible verses were offered for or against the

death penalty.     (Id. at 72.)     During the evidentiary hearing,

Barnes’s counsel and Juror Peacock had the following exchange:

            Q.   Would it be fair to say that [Juror Jordan]
       brought the Bible passages in to rebut Chambers
       attorney's argument?

            A.   Yes.

            Q.   Okay. And that it would be okay to impose
       the death penalty in the case, correct?

            A.   She didn't –

            Q.   That was –

            A.   She didn't say either way.     I did not hear
       her say either way.

(Doc. 47 at 72 (emphasis added).)       In addition, no witness could

recall what specific Bible verses were read or identify whether

they originated from the Old or New Testament.       (Doc. 47 at 54, 61

                                   18



   Case 1:08-cv-00271-TDS-JEP Document 62 Filed 08/02/18 Page 18 of 32
(recalling only “the eye for an eye and tooth for a tooth . . . –

the passage that dealt with that”), 72, 75.)

       This is a slim basis on which to conclude that either Pastor

Lomax or Juror Jordan relied on the Bible to advocate for any

particular       sentence     other    than     the   one    based   on    a   correct

application of the law.             Cf. Oliver v. Quarterman, 541 F.3d 329,

340, 344 (5th Cir. 2008) (holding that Sixth Amendment violation

arose from Bible reading by jurors during deliberations “where the

passage the jury read described the defendant's method of killing,”

but    concluding     that    petitioner        failed   to    present     clear   and

convincing evidence to rebut state court’s factual finding that

the reading did not influence the decision); Robinson v. Polk, 444

F.3d 225, 227 (4th Cir. 2006) (Wilkinson, J., concurring) (“If the

presence    of    a   Bible    in    the   jury   room      drives   the   collective

discussion, and renders a capital sentence the result of religious

command, then in my view, an important line has been crossed.”).

       In that regard, this case can be distinguished from other

cases in which an extraneous influence was found to deprive a

petitioner of his constitutional right to a fair trial. Cf. Parker

v. Gladden, 385 U.S. 363, 363–64 (1966) (per curiam) (holding that

petitioner was entitled to post-conviction relief where bailiff

told one juror in the presence of other jurors that “wicked fellow

[the petitioner] . . . is guilty” and on another occasion that

“[i]f there is anything wrong (in finding petitioner guilty) the

                                           19



      Case 1:08-cv-00271-TDS-JEP Document 62 Filed 08/02/18 Page 19 of 32
Supreme Court will correct it”); Stockton v. Com. of Va., 852 F.2d

740, 745-46 (4th Cir. 1988) (holding that the state failed to rebut

the presumption of prejudice from improper third party contact,

where restaurant owner approached a group of jurors during lunch,

inquired about their sentencing deliberations, and told them that

“they ought to fry the son-of-a-bitch”).                    In the absence of

additional evidence that either Pastor Lomax or Juror Jordan

employed Bible verses to actively encourage jurors to impose the

death penalty, the logical conclusion is that the extraneous

influence encouraged the jurors to decide the case based on the

facts presented and the law of North Carolina and not based on the

religious constraints the defense counsel sought to impose. 9                 This

weighs against any finding that the extraneous influence had a

substantial and injurious effect or influence in determining the

jury's verdict.       See Frye v. Warden, San Quentin State Prison, No.

2:99-CV-0628 KJM CKD, 2015 WL 300755, at *77 (E.D. Cal. Jan. 22,

2015)     (“Because      the   most     logical   interpretation      of   Juror

Fairfield's statement is that the writing directed her to follow

the    law,   and   it   can   hardly    be   said   that    this   message   was


9
  To be sure, while the closing argument by Chambers’s attorney
effectively placed the spiritual implications of imposing the death
penalty before the jury, Barnes, 751 F.3d at 249, there is no evidence
to indicate that the trial court instructed the jurors that this factor
was at all relevant. See Barnes, 345 N.C. at 227, 236, 481 S.E.2d at
68, 73 (summarizing trial court’s instructions). Moreover, there is no
indication that after Juror Jordan’s discussion of the Bible passages
for “15 or 30 minutes” in the jury room (Doc. 47 at 55), any juror
subsequently discussed them.

                                         20



      Case 1:08-cv-00271-TDS-JEP Document 62 Filed 08/02/18 Page 20 of 32
objectively prejudicial to petitioner, this court finds Juror

Fairfield's contact with her minister and consideration of any

extraneous evidence did not have a substantial and injurious effect

or   influence    in   determining   the    jury's   verdict.”     (citation

omitted)).    Cf. Fields v. Brown, 503 F.3d 755, 781 (9th Cir. 2007)

(en banc) (holding that juror’s notes compiling arguments “for”

and “against” the death penalty based on Bible verses did not

amount to a “substantial and injurious effect in determining the

jury’s verdict”); McNair, 416 F.3d at 1309 (affirming denial of

§ 2254 petition based on jury misconduct arising from the reading

of Bible passages by the jury foreman, relying in part on the state

court’s factual finding that the Bible passages “merely had the

effect   of   encouraging    the   jurors   to   take   their    obligations

seriously and to decide the question of guilt or innocence based

only on the evidence” (internal quotations omitted)).

      Furthermore, the strength of the State’s evidence mitigates

against finding any prejudice resulting from the contact between

Juror Jordan and Pastor Lomax.        In this case, the State produced

substantial evidence linking Barnes to the crime, including the

eyewitness testimony placing him with the co-defendants before the

crime as well as contemporaneous statements that indicated a

willingness to kill someone on the day of the murders.           See Barnes,

345 N.C. at 242, 481 S.E.2d at 76-77 (summarizing the relevant

evidence against Barnes in the light most favorable to the State

                                     21



     Case 1:08-cv-00271-TDS-JEP Document 62 Filed 08/02/18 Page 21 of 32
and holding that “the jury could reasonably find that Barnes killed

the victims after premeditation and deliberation”).                    The State

also produced evidence that Barnes disposed of one of the murder

weapons used in the offense, and there was gunshot residue on

Barnes’s hands at the time of his arrest, which tended to show

that he had fired or handled a handgun soon after it had been fired

within    a     period   of    time   close     to   the   killings.    See    id.

Furthermore, despite Barnes’s denial, the North Carolina Supreme

Court found that “during court proceedings in November, Barnes

wore a gold necklace and a watch belonging to the Tutterows,” the

victims.      Id. at 202, 481 S.E.2d at 53.

       During the sentencing hearing, Barnes’s co-defendant, Robert

Lewis Blakeney, testified that he did not shoot the Tutterows but

that Barnes and co-defendant Chambers shot them while he was in

another room of the house.            Id. at 223, 481 S.E.2d at 65.        While

Barnes    now    attacks      Blakeney’s    “blame    shifting”   confession   as

unreliable (Doc. 58 at 20), Barnes chose not to testify during the

sentencing hearing and failed to offer any evidence challenging

his co-defendant’s testimony.              Id. at 223-24, 481 S.E.2d at 65-

66.     In addition, the State introduced evidence at sentencing

tending to show that Barnes had previously committed a violent,

attempted robbery of a sixteen-year-old girl.                Id. at 237-38, 481

S.E.2d at 74.

       Ultimately, the jury found four aggravating circumstances as

                                           22



      Case 1:08-cv-00271-TDS-JEP Document 62 Filed 08/02/18 Page 22 of 32
to both Barnes and Chambers: (1) both had previously been convicted

of a felony involving the use or threat of violence; (2) the

murders were committed for pecuniary gain; (3) the murders were

part of a course of conduct involving other violent crimes; and

(4) the murders were “especially heinous, atrocious, or cruel.”

Id. at 249-50, 481 S.E.2d at 81.          One or more jurors found several

mitigating factors as to Barnes during sentencing, which related

primarily to his difficult childhood and resulting inability to

develop into an adequately adjusted adult.           Id. at 250, 481 S.E.2d

at 81.    The jury found that Blakeney was only an accomplice in or

accessory to the capital felony murder and his participation was

relatively minor.        Id. at 236–37, 481 S.E.2d at 73.        It recommended

the    death   penalty    for   Barnes   and   Chambers,   but    it   sentenced

Blakeney to life imprisonment.           Id. at 199, 481 S.E.2d at 51.

       Even though the jury did find some mitigating factors as to

Barnes at sentencing, these factors related primarily to his

childhood and were overshadowed by the aggravating factors and

overall strength of the State’s case.             As the Supreme Court of

North Carolina noted, the evidence tended to show that “defendants

Barnes and Chambers robbed and viciously murdered two elderly

victims.       In the course of the murders and the events that

followed, Barnes and Chambers showed an utter disregard for the

value of human life.”           Id. at 251, 481 S.E.2d at 82.          The fact

that the jury voted against the death penalty for co-defendant

                                         23



      Case 1:08-cv-00271-TDS-JEP Document 62 Filed 08/02/18 Page 23 of 32
Blakeney provides further evidence that the improper contact did

not prevent the jury from judging each co-defendant individually

or otherwise precluded them from rejecting the death penalty as an

appropriate punishment, as the magistrate judge noted in her

Recommendation.           (Doc. 54 at 23.)          Thus, the State’s strong

evidence of guilt weighs against a finding of prejudice in this

instance.       See Brecht, 507 U.S. at 639 (holding government’s

improper use of petitioner’s post-Miranda silence for impeachment

purposes      did   not   substantially        influence   the      jury’s   verdict,

relying in part on the fact that “the State's evidence of guilt

was, if not overwhelming, certainly weighty”).

       Under these circumstances, the court has no “grave doubt”

that    the     extraneous       influence      arising      from     the    improper

communication       between      Pastor   Lomax    and    Juror     Jordan   did    not

substantially influence the jury’s decision as to whether Barnes

should receive the death penalty, and thus was harmless.                     O'Neal,

513 U.S. at 436-37.             Put another way, mindful that a unanimous

verdict is required to impose the death penalty, Allen, 366 F.3d

at 345 (Gregory, J., concurring), it can be said with “fair

assurance”      that      the    extraneous      influence     did     not   have     a

“substantial and injurious effect or influence in determining the

jury's verdict,” Kotteakos, 328 U.S. at 765.                 Therefore, the court

finds that any error by the state MAR court’s “failure to apply

the Remmer presumption and its failure to investigate Barnes’

                                          24



   Case 1:08-cv-00271-TDS-JEP Document 62 Filed 08/02/18 Page 24 of 32
allegations of juror misconduct in a hearing,” Barnes, 751 F.3d at

253, was harmless.

       B.    Motion to Appoint Substitute Counsel

       After the objections were filed by counsel, Barnes filed two

pro se motions for the appointment of counsel pursuant to 18 U.S.C.

§ 3599(a)(2) to assert a claim under Martinez v. Ryan, 566 U.S. 1

(2012).     (Docs. 59, 60.)       In addition, Barnes claims that his

appointed counsel are colleagues with counsel who represented him

on direct appeal.        (Doc. 60 at 1.)     He further cites the “lack of

[c]onstant       adequate     [c]ommunication         with   Petitioner        and

Petitioner’s     grave    concerns    that   [p]ost-conviction       counsel    is

deliberately attempting to derail Petitioner from relief[.]”               (Id.

at 2.)

       Barnes’s counsel take no position on the relief sought but

represent that they “have consistently and thoroughly represented

Mr.    Barnes”    throughout    his     §    2254     proceedings,    including

successfully obtaining an evidentiary hearing for him on his juror

misconduct claim, handling that hearing, and filing objections to

the magistrate judge’s Recommendation.              (Doc. 61 at 1-2.)   Counsel

represent that they have provided Barnes with all copies of their

filings.     (Id. at 2.)

       While 18 U.S.C. § 3599 entitles indigent defendants to the

appointment of counsel in habeas proceedings for capital cases,

habeas petitioners are not entitled to the counsel of their choice.

                                       25



      Case 1:08-cv-00271-TDS-JEP Document 62 Filed 08/02/18 Page 25 of 32
Christeson v. Roper, 135 S. Ct. 891, 893–94 (2015).             Nevertheless,

“a court may ‘replace’ appointed counsel with ‘similarly qualified

counsel . . . upon motion’ of the petitioner.” Id. at 894 (quoting

18 U.S.C. § 3559(e)).          “Substitution of that federally-appointed

counsel is warranted only when it would serve ‘the interests of

justice.’”    Lambrix v. Sec'y, Fla. Dep't of Corr., 756 F.3d 1246,

1259 (11th Cir. 2014) (quoting Martel v. Clair, 565 U.S. 648, 658

(2012)); see 18 U.S.C. § 3006A(c).

      When considering a motion to substitute counsel, a court

should consider both “the timeliness of the motion” and “the

asserted cause for that complaint, including the extent of the

conflict or breakdown in communication between lawyer and client

(and the client's responsibility, if any, for that conflict).”

Christeson, 135 S. Ct. at 894 (quoting Martel, 565 U.S. at 658).

However,      “a     district       court      is      not     required       to

appoint substitute counsel just so that a state prisoner can file

a   futile   petition”    or    “pursue   wholly    futile   claims   that   are

conclusively time barred or could not form the basis for federal

habeas relief.”     Lambrix, 756 F.3d at 1259 (citations omitted).

      Barnes’s request is untimely.         He filed the present motion on

March 12, 2018, nearly ten years after filing his initial petition,

over five years after the Supreme Court’s decision in Martinez,

and only after the magistrate judge issued her Recommendation

denying his claim.       Barnes offers no explanation for his delay.

                                      26



     Case 1:08-cv-00271-TDS-JEP Document 62 Filed 08/02/18 Page 26 of 32
       Even if his untimeliness could be excused, Barnes fails to

identify any viable claim.       To the extent Barnes’s motion for new

counsel is predicated on a desire to pursue a claim pursuant to

Martinez, such a claim is futile because it exceeds the scope of

the Fourth Circuit’s remand in this case.             The Fourth Circuit

remanded this matter to this court “for an evidentiary hearing to

determine whether the state court’s failure to apply the Remmer

presumption and its failure to investigate Barnes’ allegations of

juror misconduct in a hearing had a substantial and injurious

effect or influence on the jury’s verdict.”          Barnes, 751 F.3d at

253.      The resolution of that issue by this court does not involve

questions of procedural default or otherwise implicate Martinez.

To the extent Barnes is attempting to assert a new claim, the

request exceeds the scope of the remand and would violate the

mandate of the Fourth Circuit.       See Doe v. Chao, 511 F.3d 461, 465

(4th Cir. 2007); Briggs v. Pennsylvania R. Co., 334 U.S. 304, 306

(1948) (“[A]n inferior court has no power or authority to deviate

from the mandate issued by an appellate court.”).           Barnes has not

offered any suggestion that the court should deviate from the

mandate rule due to “exceptional circumstances.”          Doe, 511 F.3d at

467. 10


10
  Even if such a claim were considered to fall within this court’s remand
jurisdiction, it would be futile on the merits.      “Because a prisoner
does not have a constitutional right to counsel in state post-conviction
proceedings, ineffective assistance in those proceedings does not


                                     27



     Case 1:08-cv-00271-TDS-JEP Document 62 Filed 08/02/18 Page 27 of 32
     To the extent Barnes’s request for the appointment of counsel

is predicated on a conflict of interest outside his request to

pursue a Martinez claim, he fails to identify any actual conflict

aside from noting that appointed counsel are colleagues with the

counsel who represented him on direct appeal.           (Doc. 60 at 1.)

Barnes thus fails to identify a sufficient conflict of interest to

warrant the appointment of substitute counsel.           Cf. Christeson,

135 S. Ct. at 895 (holding that district court erred in denying

motion to substitute counsel due to “a significant conflict of

interest” where petitioner’s argument in favor of tolling the



qualify as cause to excuse a procedural default.” Davila v. Davis, 137
S. Ct. 2058, 2062 (2017) (citing Coleman v. Thompson, 501 U.S. 722
(1991)). In Martinez v. Ryan, 566 U.S. 1 (2012) and Trevino v. Thaler,
569 U.S. 413 (2013), the Supreme Court recognized a narrow exception to
this rule, which “treats ineffective assistance by a prisoner's state
postconviction counsel as cause to overcome the default of a single claim
— ineffective assistance of trial counsel — in a single context — where
the State effectively requires a defendant to bring that claim in state
postconviction proceedings rather than on direct appeal.” Id. at 2062-
63.   Unlike the petitioner in Martinez, Barnes did raise a claim of
ineffective assistance of trial counsel in his post-conviction MAR
proceeding, and this claim was not subject to procedural default. In
his federal petition, he again raised this issue, and this court held
that he failed to demonstrate that the rejection of this claim by the
state courts was contrary to or an unreasonable application of clearly
established federal law as determined by the Supreme Court. (Doc. 28
at 38.) Accordingly, any attempt to rely on Martinez to raise or re-
raise such claims would be futile.       Lambrix, 756 F.3d at 1260–61
(“[T]he Martinez rule relates to excusing a procedural default of
ineffective-trial-counsel claims in an initial § 2254 petition and does
not apply to cases like [petitioner's]—where ineffective-trial-
counsel claims were reviewed on the merits in the initial § 2254
proceeding.”) To the extent Barnes now seeks to raise a new claim of
ineffective assistance of trial counsel under Martinez, it would be time-
barred under 28 U.S.C. § 2254(d). Id. at 1262 (holding that any new
ineffective assistance of trial counsel claim was time-barred, noting
that “Martinez does not alter the statutory bar against filing untimely
§ 2554 [sic] petitions”).

                                    28



    Case 1:08-cv-00271-TDS-JEP Document 62 Filed 08/02/18 Page 28 of 32
statute of limitations depended on establishing that his current

attorneys had effectively abandoned his case).

       Finally,   Barnes    cites   a        “lack   of   [c]onstant   adequate

[c]ommunication with Petitioner and Petitioner’s grave concerns

that   [p]ost-conviction     counsel     is     deliberately    attempting   to

derail Petitioner from relief[.]”             (Doc. 60 at 2.)     While Barnes

appears to claim that his counsel failed to adequately keep him

informed regarding the status of the proceedings, his counsel

stated in their response that he has been given copies of all

filings in this case.      (Doc. 61 at 2.)       Barnes has offered no other

evidence or specific factual support for his conclusory claims.

Nor does his counsel’s conduct in proceedings before the court

suggest any attempt to prevent Barnes from obtaining relief – to

the contrary, counsel have been zealous advocates for his claims.

       Accordingly, Barnes’s motion for new counsel will be denied,

as it has not been demonstrated to best serve the interests of

justice.

       C.   Certificate of Appealability

       When denying a habeas petition under 28 U.S.C. § 2254, the

court must determine whether the petitioner is entitled to a

certificate of appealability with respect to one or more of the

issues presented in the petition.              Rules Governing § 2254 Cases,

R. 11(a).   Under the Antiterrorism and Effective Death Penalty Act

of 1996, a district court may issue a certificate of appealability

                                        29



   Case 1:08-cv-00271-TDS-JEP Document 62 Filed 08/02/18 Page 29 of 32
“only if the applicant has made a substantial showing of the denial

of   a   constitutional     right.”       28    U.S.C.     §     2253(c)(2).        The

petitioner must demonstrate that “reasonable jurists could debate

whether . . . the petition should have been resolved in a different

manner or that the issues presented were adequate to deserve

encouragement to proceed further.” Allen, 366 F.3d at 323 (quoting

Slack v. McDaniel, 529 U.S. 473, 484 (2000)).                    “Where a district

court has rejected the constitutional claims on the merits, the

showing required to satisfy § 2253(c) is straightforward: The

petitioner must demonstrate that reasonable jurists would find the

district court's assessment of the constitutional claims debatable

or   wrong.”    Slack,      529   U.S.   at    484.       “The    question    is    the

debatability    of   the    underlying        constitutional       claim,    not    the

resolution of that debate.”         Miller-El v. Cockrell, 537 U.S. 322,

342 (2003).      The standard for granting a certificate has been

described as “low.”        Frost v. Gilbert, 835 F.3d 883, 888 (9th Cir.

2016) (citation omitted).         “[A] claim can be debatable even though

every jurist of reason might agree, after the [certificate of

appealability] has been granted and the case has received full

consideration, that petitioner will not prevail.”                   Buck v. Davis,

137 S. Ct. 759, 774 (2017) (quoting Miller-El, 537 U.S. at 338).

Further,    within   the     context     of     capital    cases,     courts       have

recognized that the severity of the sentence is an appropriate

consideration when deciding whether to issue a certificate.                        See,

                                         30



     Case 1:08-cv-00271-TDS-JEP Document 62 Filed 08/02/18 Page 30 of 32
e.g., Smith v. Dretke, 422 F.3d 269, 273 (5th Cir. 2005) (“Because

the present case involves the death penalty, any doubts as to

whether a [certificate of appealability] should [be] issued must

be resolved in [the petitioner's] favor.” (quoting Hernandez v.

Johnson, 213 F.3d 243, 248 (5th Cir. 2000))); Jermyn v. Horn, 266

F.3d 257, 279 n.7 (3d Cir. 2001) (noting “in a capital case, the

nature of the penalty is a proper consideration” (quoting Barefoot

v. Estelle, 463 U.S. 880, 893 (1983))).

     In light of the Fourth Circuit’s determination that Juror

Jordan’s    communication     with   Pastor   Lomax   about   the   spiritual

implications of imposing the death penalty concerned “the matter

before the jury,” and because this is a capital case, a review of

the complete record persuades the court to conclude that, while it

is confident in its determination, a reasonable jurist could at

least debate the court’s resolution of the constitutional claim.

Therefore, the court will issue a certificate of appealability on

the issue of whether the extraneous communication between Juror

Jordan and Pastor Lomax had a “substantial and injurious effect or

influence    in   determining    the    jury's   verdict,”    or   rather   was

harmless.

III. CONCLUSION

     The    court    has   carefully    reviewed    those   portions   of   the

Recommendation of the United States Magistrate Judge to which

objections    were    made,   whether    or   not   specifically    addressed

                                       31



   Case 1:08-cv-00271-TDS-JEP Document 62 Filed 08/02/18 Page 31 of 32
herein,   and   has   made   a    de   novo   determination.       The   court’s

determination is in accord with the Recommendation, which is

ADOPTED, as modified herein.

     IT IS THEREFORE ORDERED that Barnes’s petition (Doc. 1) be

DENIED as to the single claim on remand from the Court of Appeals

for the Fourth Circuit.

     IT IS FURTHER ORDERED that Barnes’s motion for the appointment

of substitute counsel (Docs. 59, 60) be DENIED.

     For the reasons noted, the court will grant a certificate of

appealability on the issue of whether the extraneous communication

between Juror Jordan and Pastor Lomax had a “substantial and

injurious effect or influence in determining the jury's verdict,”

or rather was harmless.          See 28 U.S.C. § 2253(c)(2).

     A    Judgment    will   be    entered     contemporaneously    with   this

Memorandum Opinion and Order.

                                                 /s/   Thomas D. Schroeder
                                              United States District Judge

August 2, 2018




                                        32



   Case 1:08-cv-00271-TDS-JEP Document 62 Filed 08/02/18 Page 32 of 32
